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                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO



UNITED STATES OF AMERICA,                     )                 CASE NO. 1:03cr00431-005
                                              )
       Plaintiff,                             )                 JUDGE: JAMES S. GWIN
                                              )
vs.                                           )                 ORDER
                                              )
ROBERT DUPEE,                                 )
                                              )
       Defendant.                             )



       This matter was heard on July 28, 2015, upon the request of the United States Pretrial and

Probation Office for a finding that defendant violated the conditions of supervised release. The

defendant was present and represented by Attorney Charles Fleming. The original violation

report [Doc. 462] was referred to Magistrate Judge Greg White for a Report and

Recommendation which was issued on June 16, 2015 [Doc. 466]). No objections having been

filed the Court adopted the Magistrate Judge’s Report and Recommendation and found that the

following terms of supervision had been violated:

               1) use of illicit substance;

               2) failure to notify probation officer within 72 hours of an arrest;

               3) failure to notify probation officer within 72 hours after

               change of address;

               4) failure to pay court-ordered child support.
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       Therefore, the defendant is committed to the Bureau of Prisons for a period of 60 days.

Defendant shall report to the Office of the U.S. Marshal in Chesapeake, Virginia (or the nearest

location) by 12:00 noon on October 21, 2015, unless otherwise designated by the Bureau of

Prisons prior to October 21, 2015. Upon release from incarceration defendant’s supervised

release shall terminate.

       IT IS SO ORDERED.



Dated: July 30, 2015                                s/ James S. Gwin
                                                    JAMES S. GWIN
                                                    UNITED STATES DISTRICT JUDGE
